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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                               CORPUS CHRISTI DIVISION

JOSHUA EDWARDS Individually and                 §
on Behalf of All Others Similarly               §
Situated                                        §
                                                § Docket No. 2:15-CV-00299
       Plaintiff(s)                             §
                                                §
       v.                                       §
                                                §
4JLJ, LLC DBA J4 OILFIELD                       §
SERVICES and JOHN JALUFKA                       § COLLECTIVE ACTION
                                                § PURSUANT TO 29 U.S.C. § 216(b)
       Defendants.                              §

                   DEFENDANTS’ RESPONSE IN SUPPORT OF THEIR
                      POST-REMAND APPLICATION FOR COSTS

       Plaintiffs’ Objections to Defendants’ Post-Remand Application for Entry of Bill of Costs

and Request for Reimbursement of Costs Previously Paid to Defendants (Doc. 381, the

“Objections”) should be overruled for the reasons discussed herein.

                                                I.

       Federal Rule of Appellate Procedure 39(e)(2), Fifth Circuit precedent, and the mandate of

the Fifth Circuit in this specific litigation entitle the 4JLJ Defendants to their costs on appeal.

Yet Plaintiffs’ Objections fail to rebut the application of, or even address, any of these

considerations. Plaintiffs instead: (1) improperly brief the standard for taxing costs of trial court

proceedings through Federal Rule of Civil Procedure 54(d), although Federal Rule of Appellate

Procedure 39 controls taxation of appellate costs; (2) mischaracterize the dispositive effect of the

Fifth Circuit’s ruling and mandate in this matter; and (3) simply ignore the 4JLJ Defendants have

substantiated the transcript costs requested in their Post-Remand Application for Entry of Bill of




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Costs, (Doc. 380, the “Application”), were necessary for the appeal. Plaintiffs’ misguided

Objections should be overruled for reasons amplified below.

                                                 II.

       Federal Rule of Civil Procedure 54(d), and the considerations addressed in Pacheco v.

Mineta, 448 F.3d 783 (5th Cir. 2006) regarding taxation of costs under the Rule, have no bearing

on the matters before this Court. Cf. (Objections, Doc. 381, Pages 2 of 7 – 4 of 7). Rule 54(d)

addresses taxation of costs in favor of the “prevailing party” in trial court proceedings, and cases

such as Pacheco stand only for the proposition a trial court has some discretion to deny or reduce

Rule 54(d) costs if the trial court articulates “good reason for doing so.” 448 F.3d at 794.

       But the 4JLJ Defendants have not premised their Application on Rule 54(d) “prevailing

party” principles, or the line of Fifth Circuit authority construing Rule 54(d); nor would it have

been appropriate to have done so. In their Application, the 4JLJ Defendants indeed noted when

this Court previously taxed certain Rule 54(d) costs, the Court differentiated between the

operation of the Rule compared to the distinct standard for taxing appellate costs: “To the extent

that Defendants justify the need for transcripts in the event of an appeal, that is a separate matter

that may be considered by the appellate court at the conclusion of any appeal.” (Application,

Doc. 380, Page 2 of 5) (quoting Doc. 342, Page 7 of 11 – 8 of 11).

       The Fifth Circuit has now considered whether the 4JLJ Defendants are entitled to

appellate costs of the kind and ruled they are: “IT IS FURTHER ORDERED that [Plaintiffs] pay

to [the 4JLJ Defendants] the costs of appeal . . . .” (Doc. 377, Page 2 of 2). A portion of those

costs have been taxed by the clerk of the Fifth Circuit, (Doc. 379), but pursuant to Federal Rule

of Appellate Procedure 39(e)(2), the costs for the “reporter’s transcript . . . needed to determine

the appeal . . .” must be taxed in this Court.



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                                              III.

         There is absolutely no authority for applying the Pacheco “factors” to deny, or even

reduce, costs taxed pursuant to Rule 39(e)(2). Fifth Circuit precedent could not be any more

clear:

              “In general, Rule 39 ‘dictates that the disposition of the appeal is the deciding

               factor in the assessment of appellate costs.’” City of San Antonio v. Hotels.com,

               L.P., 959 F.3d 159, 164 (5th Cir. 2020) (quoting Studiengesellschaft Kohle mbH

               v. Eastman Kodak Co., 713 F.2d 128, 131 (5th Cir. 1983)) (emphasis added).

              “As [the Cross-Appellant] points out, most other circuits to have considered this

               issue have held—or at least implied—that a district court retains discretion to

               deny or reduce a Rule 39(e) award . . . . The problem for [the Cross-Appellant],

               however, is that our circuit adopted the contrary position almost three decades

               ago in [In re Sioux Ltd., Sec. Litig., No. 87-6167, 1991 U.S. App. LEXIS 25550

               (5th Cir. Mar. 4, 1991)], which remains binding precedent.” 959 F.3d at 166

               (emphasis added).

              “In [In re Sioux Ltd.] . . . we treated the mandate, which awarded appellants ‘the

               costs on appeal to be taxed by the Clerk of this Court,’ as a determination that

               appellants were ‘the “party entitled to costs” in this case.’ . . . . Further, we

               recognized that the appellate mandate did not ‘limit costs on appeal taxable in the

               district court.’ . . .   Reasoning that ‘[a]bsent some limiting provision in the

               mandate from the court of appeals, the party entitled to costs in the court of

               appeals is entitled to costs in the district court under Rule 39(e),’ we held that

               appellants were entitled to such costs. . . . Indeed, we went even further. Noting



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               that ‘Rule 39(e) is mandatory,’ we held ‘[t]he district court ha[d] no discretion

               whether, when, to what extent, or to which party to award costs of the appeal’ and

               therefore erred by denying appellant’s application . . . under Rule 39(e).” 959

               F.3d at 166 – 67 (quoting In re Sioux Ltd.) (emphasis added).

              “Sioux remains binding precedent.          Therefore, the district court correctly

               recognized that it lacked discretion to deny or reduce the . . . costs to which the

               [Cross-Appellees] were entitled under Rule 39.” 959 F.3d at 167 (emphasis

               added).

                                              IV.

        The Fifth Circuit’s ruling in City of San Antonio v. Hotels.com, L.P. (which is less than

six months old) reaffirms decades-old precedent that a district court has “no discretion whether,

when, to what extent, or to which party to award costs of the appeal . . . .” Plaintiffs nevertheless

ignore this precedent entirely, making the demonstrably inaccurate declaration: “it would be

perfectly within this Court’s authority and appropriate to deny Defendants’ Post-Remand

Application for Entry of Bill of Costs . . . .” (Objections, Doc. 381, Page 5 of 7) (emphasis

added). Yet they offer absolutely no support for this proposition, and there is none.

       Indeed, even though it would be improper to disregard Fifth Circuit precedent that

mandates taxation of the appellate costs, Plaintiffs in no event have proffered any sound rationale

for doing so. Through Declaration testimony and a supporting invoice, see (Doc. 380-2), the

4JLJ Defendants have substantiated precisely how the transcripts for February 19, 2019;

February 20, 2019; February 21, 2019; February 25, 2019; and February 26, 2019 trial

proceedings were necessary for the appeal.

       Yet Plaintiffs have made no attempt, at all, to rebut that showing. They instead proffer

entirely misplaced arguments focused on the transcript costs’ relation to the trial proceedings.

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Cf. (Doc. 381, Page 2 of 7) (accusing the 4JLJ Defendants of “seeking to offset the sanctions

imposed . . .” in relation to a discovery dispute during the trial proceedings); (id. at Page 4 of 7)

(contending Plaintiffs’ suit before this Court “was brought in good faith.”); (id.) (alleging

“misconduct” during the trial proceedings). Plaintiffs do so without regard to the independent

necessity of the transcripts with respect to challenges Plaintiffs raised in the appeal.

        Moreover, the Fifth Circuit did not qualify the 4JLJ Defendants’ entitlement to appellate

costs based on any of the considerations advanced by Plaintiffs, did not include any “limiting

provision in the mandate” based on the considerations, and it is highly unlikely the Fifth Circuit

in any event would have had authority to do so. The effect of Plaintiffs’ un-timely appeal was

the Fifth Circuit dismissed the appeal, (Doc. 378), which subjected the Fifth Circuit to the

following constraint of Federal Rule of Appellate Procedure 39(a)(1): “if an appeal is dismissed,

costs are taxed against the appellant . . . .”

        It consequently is exceptionally inappropriate for Plaintiffs to not only advocate this

Court deny or reduce costs in a manner the contravenes Fifth Circuit precedent, but to ignore not

even the Fifth Circuit would have been authorized to deny or reduce costs on the bases Plaintiffs

propose. And because Rule 39(a) dictates the Fifth Circuit was obligated to tax costs against

Plaintiffs, it is specious for Plaintiffs to contend “Defendants were never entitled to costs in the

first place.” (Objections, Doc. 381, Page 4 of 7). Rule 39 dictates otherwise and the Fifth

Circuit expressly held otherwise.1


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 Plaintiffs also repeatedly suggest their failure to timely prefect the appeal somehow mitigates against taxation of
appellate costs against them. They offer no support for this proposition, nor is there any sound basis for the
proposition Plaintiffs’ procedural misstep should operate to the detriment of the 4JLJ Defendants.
 The 4JLJ Defendants otherwise note the improvident manner in which Plaintiffs characterize the proceedings in the
Fifth Circuit. For instance, they contend the manner in which the 4JLJ Defendants raised Plaintiffs’ timing defect
somehow should serve as a mitigating factor. But the Fifth Circuit’s ruling reflects otherwise, because after the



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                                                        V.

         Plaintiffs finally make a spurious assertion challenging the amount of the transcript costs

the 4JLJ Defendants request in the Application. According to Plaintiffs, the 4JLJ Defendants

seek not only the cost of the transcripts—but “expedited charges.” Plaintiffs have made no effort

to substantiate this assertion.

         As stated, the 4JLJ Defendants seek costs for the February 19, 2019; February 20, 2019;

February 21, 2019; February 25, 2019; and February 26, 2019 trial transcripts. Exhibit B-1 to

their Application is the invoice for those transcripts. See (Doc. 380-2, Page 8 of 8).

         That invoice nowhere reflects “expedited charges” or a “daily” transcription fee. Cf.

(Objections, Doc. 381, Page 5 of 7). Indeed, Plaintiffs inexplicably cite a set of invoices found at

docket entry 333-4 (as opposed to the 4JLJ Defendants’ Exhibit) and in so doing, it appears

Plaintiffs are referring to the wrong set of invoices.

         For instance, an invoice at docket entry 333-4, Page 18 of 24, reflects the court reporting

agency charged a “Rate” of $6.05 per page for a “daily” transcription of a April 10, 2017

hearing, but that is not a transcript identified in the 4JLJ Defendants’ Application, because the

4JLJ Defendants do not seek Rule 39(e)(2) costs for that transcript. And more important,



Fifth Circuit acknowledged the 4JLJ Defendants at minimum “flagged” the defect during oral argument before the
court, the Fifth Circuit made the even more salient observation: “since ensuring our jurisdiction is ultimately our
responsibility, we must eat a bit of jurisdictional crow. But as Justice Frankfurter elegantly put it, ‘Wisdom too
often never comes, and so one ought not to reject it merely because it comes late.’” Edwards v. 4JLJ, L.L.C., 976
F.3d 463, n.2 (5th Cir. 2020) (quoting Henslee v. Union Planters Nat’l Bank & Trust Co., 335 U.S. 595, 600, 69 S.
Ct. 290, 93 L. Ed. 259, 1949-1 C.B. 223 (1949) (Frankfurter, J., dissenting)). As originally “flagged,” or otherwise,
Plaintiffs should have raised its concerns regarding the Fifth Circuit’s assessment of its jurisdiction with the Fifth
Circuit. It is too late for Plaintiffs to now attempt to circumvent the effect of the ruling through arguments directed
to this Court. And it is frankly troubling Plaintiffs compound that misstep by inaccurately stating the 4JLJ
Defendants “lost on all other issues” addressed in a now superseded ruling, cf. (Objections, Doc. 381, Page 5 of 7),
because that ruling has no legal effect, and in any event, the superseded ruling reflects the 4JLJ Defendants
prevailed on discrete legal issues and with respect to two jury findings.




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whereas $6.05 per page appears to be the cost the court reporting agency charged for “daily”

transcripts, the costs for the February 19, 2019; February 20, 2019; February 21, 2019; February

25, 2019; and February 26, 2019 transcripts was only $4.85 per page. There consequently is no

basis for Plaintiffs to contend the transcripts were subject to “expedited charges,” and the 4JLJ

Defendants cannot discern why Plaintiffs contend charges of the kind are included in the costs

the 4JLJ Defendants seek to have taxed pursuant to Rule 39(e)(2).

       WHEREFORE, defendants 4JLJ, LLC and John Jalufka respectfully request the Court

grant their Post-Remand Motion for Entry of Bill of Costs and tax $4,272.85 in costs against

Plaintiffs pursuant to the Fifth Circuit’s mandate and Federal Rules of Appellate Procedure

39(e)(2).




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                                       Respectfully Submitted,

                                       MUNSCH HARDT KOPF & HARR, P.C.


                                       By: /s/ Nolan C. Knight
                                          Daniel D. Pipitone*
                                          Texas Bar No. 16024600
                                          700 Milam Street, Suite 2700
                                          Houston, Texas 77002
                                          Tel: 713-222-4060
                                          Fax: 713-222-5813
                                          dpipitone@munsch.com

                                       ATTORNEY FOR DEFENDANTS

OF COUNSEL:

Munsch Hart Kopf & Harr, P.C.                 Munsch Hart Kopf & Harr, P.C.
700 Milam Street, Suite 2700                  3800 Lincoln Plaza
Houston, Texas 77002                          500 North Akard
                                              Dallas, Texas 75201
Michael A. Harvey
Texas Bar No. 24058352                        Nolan C. Knight
SD Texas Bar No. 917759                       Texas Bar No. 24027125
700 Milam Street, Suite 2700                  SD Texas Bar No. 875454
Houston, Texas 77002                          3800 Lincoln Plaza
Tel: (713) 222-4015                           500 North Akard
Fax: (713) 222-5835                           Dallas, Texas 75201
mharvey@munsch.com                            Tel: (214) 855-7500
                                              Fax: (214) 855-7584
                                              nknight@munsch.com




*
    Attorney in Charge



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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served on counsel
of record by means of ECF this 5th day of November 2020:

       James Moulton
       MOULTON & PRICE, P.C.
       109 SH 110 South
       Whitehouse, Texas 75791
       ATTORNEY FOR PLAINTIFFS


                                                              /s/ Nolan C. Knight




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